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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


                                                      )
                                                      )
    UNITED STATES OF AMERICA,                         )
                                                      )
                           v.                         ) Criminal No. 1:22-cr-00015-APM
                                                      ) USA v. Stewart Rhodes, et al.
    KENNETH HARRELSON                                 )
                                                      )
                      Defendant                       )
                                                      )
                                                      )


         EXHIBIT B – CHECKLIST OF CLAIMED BUT MISSING PRODUCTIONS

    The Government chronicles on pages 3 and 4 disclosures that it believes it has already

    produced disclosures including --

     •    U.S. House of Representatives and U.S. Senate Recording Studio footage; 1
     •     Reports (including video and audio exhibits) arising from investigations into allegations
          of officer misconduct on or about January 6, 2021;
     •    Video recorded by the D.C. Metropolitan Police Department’s Electronic Surveillance
          Unit;
     •    The results of searches of 600 digital devices and 133 Stored Communications Act
          (“SCA”) accounts;
     •    238 digitally recorded interviews of investigation subjects;
     •    Radio communications from multiple law enforcement agencies;
     •    1,149 FBI FD-302s and related attachments (FD-302s generally consist of memoranda of
          interviews and other investigative steps);
     •    82,084 (redacted or anonymous) tips;
     •    Search warrant documents related to the government’s collection of comprehensive data
          from the Capitol’s cell tower infrastructure and the collection of geolocation information
          for the Capitol and restricted perimeter;
     •    Case-specific information obtained in connection with the investigation of numerous
          subjects whose cases have not yet been disposed and whose investigations may be on-
          going;

1
          It is not clear what “Recording Studio footage” means.
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•    Files provided to the government by multiple law enforcement agencies in response to
     Rule 16 requests for any potentially discoverable information, including information
     about individuals who have not been charged;
•    Documents the government will use to prove interstate commerce was affected; and
•    Documents related to the whereabouts of Vice President Pence on January 6, 2021.


The Government further claims on page 4 that

              All Relativity productions are accompanied by cover letters

              describing the contents of the production and indexes that provide

              further detail.
